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                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


      “Baby L.,” a minor, et al.,

                     Plaintiffs,
                                                                Civil Action No. 3:20-cv-9
      v.

      Dr. MARK ESPER, in his official capacity as
            Secretary for the U.S. Department of Defense
            et al.,

                     Defendants.


                              DEFENDANTS’ MOTION TO SEAL

            Pursuant to W.D. Va. Gen. R. 9(b)(2), Defendants respectfully request that portions

  of the memorandum submitted by Plaintiffs on September 14, 2022, which they style as a

  “preliminary memorandum” in opposition to Defendants’ Motion to Modify Pseudonym

  and Sealing Orders (ECF 34), filed on September 13, 2022, remain sealed. The

  presumption of access to judicial proceedings may be rebutted upon a showing that

  “countervailing interests heavily outweigh the public interests in access.” Doe v. Pub.

  Citizen, 749 F.3d 246, 266 (4th Cir. 2014). Counsel for Defendants conferred with counsel

  for Plaintiffs, and the parties agree that certain categories of information should remain

  sealed but have not reached agreement with regard to other categories. 1 Accordingly,

  Defendants request that information described below remain under seal:




  1
   Counsel for the parties exchanged proposed redactions, but as of this filing, counsel for
  Defendants had not received a response to an e-mail sent to counsel for Plaintiffs over 24
  hours earlier. Defendants convey herein their understanding of Plaintiffs’ positions to the
  extent they were conveyed.
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          1.      The parties agree that certain U.S. government information that Plaintiffs

  referenced in their memorandum should remain under seal. Defendants request that this

  information remain under seal in perpetuity because it implicates national security and law

  enforcement-sensitive concerns. Cf. Swindell v. CACI NSS, Inc., No. 5:17-CV-00617-D,

  2020 WL 698267, at *1 (E.D.N.C. Feb. 10, 2020) (granting motion to seal “military

  operations information”); Benchmark Elecs., Inc. v. Myers, No. GJH-19-242, 2019 WL

  6528587, at *8 (D. Md. Dec. 3, 2019) (identifying “risks to national security” as sufficient

  justification for a seal); In re s 2703(d), 787 F. Supp. 2d 430, 442 (E.D. Va. 2011)

  (recognizing law enforcement interests as justifying court seal). 2 Moreover, the public

  interest side of the scale is diminished here because this information had no bearing on any

  issue before the Court in regard to Defendants’ Motion to Modify Pseudonym and Sealing

  Orders, which the Court recognized was “limited in scope and tailored in the nature of its

  request.” Order of Sept. 15, 2022 [Doc. 35], at 2.

          2.      Defendants also seek to redact information covered by the Court’s prior

  sealing orders. As the Court noted in its recent Order, Defendants did not ask “that the

  Court revisit its decision to seal any of the materials previously filed under seal.” Order of

  Sept. 15, 2022, at 2. In regard to those materials, the parties had agreed that specific

  categories of information, including information that would reveal Plaintiffs’ identities; the

  name of the child’s home country and the foreign country to which she was transferred; or

  the name of the state Plaintiffs resided in at the time of this suit; among other things. In

  conferring with Plaintiffs, Plaintiffs failed to identify any basis to conclude that the Court’s



  2
    By identifying certain U.S. government information contained in Plaintiffs’ brief as
  properly requiring protection pursuant to a court seal, Defendants in no way suggest that
  Plaintiffs’ statements regarding this information are accurate.
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  sealing orders no longer applied to this information but have not yet responded to

  Defendants’ specific proposed redactions. In the proposed redactions that Defendants will

  separately submit to the Court, Defendants redacted all such information from Plaintiffs’

  filing.

            3.      Defendants also request that the descriptions contained in Plaintiffs’ filing

  of sealed proceedings in other cases remain under seal in perpetuity. The court in the case

  that Plaintiffs describe most extensively has made clear that its sealing order extends to

  any description of information derived from proceedings in the case, and Plaintiffs’

  descriptions plainly fall within this category. Moreover, the descriptions that Plaintiffs

  included in their brief were not relevant to any issue raised by Defendants’ Motion, as this

  Court recognized. See, e.g., Order of Sept. 15, 2022, at 5 (“Plaintiffs’ response appears to

  invite this Court to litigate substantive matters on the merits not presently before the Court

  in this case, or on this motion.”).

            4.      Certain statements in Plaintiffs’ filing also implicate the reputational and

  privacy interests of third parties and accordingly should remain under seal in perpetuity.

  Much of this information also falls within the categories identified above, particularly

  categories 1 and 3, so this concern provides an alternative basis for sealing this information.

  However, to the extent the Court reaches the issue, it should take into account that “the

  personal       information   of third parties is       often   subject   to   protection,   given

  the privacy interests at stake for individuals who are not part of the suit.” Stevens v.

  Cabarrus Cnty. Bd. of Educ., No. 1:20-CV-335-JEP, 2022 WL 4620906, at *15 (M.D.N.C.

  Sept. 30, 2022); cf. United States v. Smith, 776 F.2d 1104, 1115 (3d Cir.1985) (upholding

  trial court’s protection of “the reputational and privacy interests of third parties”); Brigham



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  Young Univ. v. Pfizer, Inc., 281 F.R.D. 507, 511–12 (D. Utah 2012) (recognizing court’s

  obligation to balance “the private interests of innocent third-parties” in the sealing

  analysis). Here, third party reputational and privacy interests outweigh any public interest,

  particularly given the gratuitous nature of Plaintiffs’ assertions regarding third parties,

  which had no bearing on Defendants’ Motion or the Court’s ruling. Cf. Order of Sept. 15,

  2022, at 4 (“having considered Plaintiffs’ ten-page opposition to Defendants’ motion, it

  fails to argue, much less substantiate, any injury that Plaintiffs would suffer if the Court

  were to modify the sealing and pseudonym orders as requested by Defendants”).

           For the foregoing reasons, information in Plaintiffs’ memorandum that falls in the

  above-listed categories should remain under seal. Defendants attach hereto a proposed

  order.

  November 4, 2022                              Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                ALEXANDER K. HAAS
                                                Director, Federal Programs Branch

                                                ANTHONY J. COPPOLINO
                                                Deputy Director, Federal Programs Branch

                                                /s/ Kathryn L. Wyer
                                                KATHRYN L. WYER
                                                Federal Programs Branch
                                                U.S. Department of Justice, Civil Division
                                                1100 L Street, N.W., Room 12014
                                                Washington, DC 20005
                                                Tel. (202) 616-8475 / Fax (202) 616-8470
                                                kathryn.wyer@usdoj.gov
                                                Attorneys for Defendants




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